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EXHIBIT B-l

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Servicing Guide
Fannie Mae Single Family

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Servicing Guide: Fannie Mae Single Family

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Chapter 3, Fannie Mae’s Home Retention and Liquidation Workout

Options, Home Retention Workout Options

F or an MBS mortgage loan, the Servicer must also See Conditz'ons of a Fz`rsl and Second Lien
Mortgage Locm Modificarionfor an MBS Mortgage Loan in D2-3. l -02, Working With an MBS
Mortgage Loan for Certain Workout Options.

After the servicer obtains all applicable approvals, it must prepare and fully execute the
Agreement for Modijfication or Exlension of the Mortgage (Form 181).

The servicer must follow the procedures in Execu/fng and Recording Form 181 in
F-l -26, Processing a Government Mortgage Loan Modif`lcation for executing and recording
Forrn 181.

 

wD2-3.2-07, Fannie Mae HAMP Modificatiorl (04/08/2015)

 

Introduction

This topic contains the following:

* Determining Eligibility for a Fannie Mae HAMP Modii`lcation

- Performing an Escrow Analysis

' Determining the Fannie l\/lae HAMP Modit`lcation Terms

- Communicating with a Borrower Regarding a Fannie Mae HAMP l\/Iodif'lcation

~ OFFering a Trial Period Plan and Cornpleting a Fannie l\/lae HAMP Modii`lcation

' Processing a F annie l\/lae HAMP Modification for a Mortgage Loan With l\/lortgage lnsurance
- Identif`ying Loss of Good Standing

' Communicating With a Borrowei' Regarding Eligibility for the Expanded Borrower “Pay for
Perforrnance” lncentive for a Fannie Mae HAMP Modil`lcation

~ Handling Fees and Late Charges in Connection with a Fannie Mae HAMP Modif`lcation
' Servicer Duties and Responsibilities

' Authorization to Sign Amendment to Servicer Participation Agreement

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Determining Eligibility for a Fannie Mae HAMP Modification

ln order to be eligible for a Fannie Mae HAMP modification, all ofthe Criteria in the following
table must be met.

 

/ Eligibility criteria for a Fannie Mae HAMP modification

The mortgage loan must be a first lien conventional mortgage loan originated on or
before ianuary 1, 2009.

The mortgage loan must not have been previously modified under HAMP.

 

 

 

The mortgage loan must be secured by a One- to four- unit property, one unit of Which is
the borrower’s principal residence The servicer must follow the procedures in I/érg')‘ying
Occupancy in F-l-l 8, Processing a Fannie Mae HAMP Moditication for verifying
occupancyl

 

The mortgage loan must be delinquent or in imminent default If the mortgage loan is
current or less than 60 days delinquent, the servicer must process the modification in
accordance with D2-I-02, Using Freddie Mac’s Imminent Default lndicator.

 

The property securing the mortgage loan must not be vacant or condemned

 

The BRP must document a hardship and represent that the borrower does not have
sufficient liquid assets to make the monthly payment `

Note: An unemployed borrower is not eligible for a Fannie Mae HAMP
modification The servicer must consider unemployed borrowers for
Unemployment Forbearance. See D2-3.2-02, Forbearance P|an for an
Unemployecl Borrower for additional information.

 

The borrower must currently have a monthly mortgage payment ratio greater than 31%.
The servicer must follow the procedures in Ca!culating the Mr)nthly Morl'gage qumem
Ran'o in F-l -l 8, Processing a Fannie Mae HAMP Modification for calculating the
monthly mortgage payment ratio.

 

The borrower must not have previously

* failed a Fannie l\/lae HAMP Trial Period Plan as described in Qf)%r)`ng a Trial Period
Plan and Completing a Fannie Mae HAMP Modification, or

* received a Fannie Mae HAMP modification and lost good standing as described in
Idennfw`ng Loss of Good Standing.

 

 

 

 

Upon determining that the Fannie Mae HAMP modification eligibility criteria are satisfied,
the servicer must evaluate the mortgage loan using a standard NPV test. A mortgage loan with

 

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a negative NPV result is ineligible for modification The servicer must follow the procedures
in Usi'ng a Standard Net Present Vat`ue Iest in F-l-IS, Processing a F annie Mae HAMP
Modification for evaluating the mortgage loan using a standard NPV test.

in the following instances, the servicer must evaluate a borrower’s subsequent request for a
Fannie Mae HAMP modification if he or she experienced a change in circumstance:

~ The borrower was previously evaluated for a F annie Mae HAMP modification but did not
meet the eligibility criteria described in this Guide.

' The borrower Was previously evaluated for a Fannie Mae HAMP modification and met the
eligibility criteria but did not qualify for a Fannie Mae HAMP modification by virtue of the
following:

- a negative NPV result,
- excessive forbearance, or
~ any other financial reason.

If the borrower converts from a Trial Period Plan to an Unemployment Forbearance plan, the
borrower may subsequently be eligible for a F annie Mae HAMP modification upon successful
completion of the Unemployment Forbearance plan and, if eligible, must be placed in a new Trial
Period Plan. The servicer must obtain an updated BRP if the previous documentation submitted
is greater than 90 days old, With the exception of an IRS Short Form Requesrfor Indivrduai Tax
Retzrm Transcrr`pt (lRS Form 4506T-EZ) if the servicer has already obtained a tax transcript for
the most recent tax year.

First Lien Home Equity Loans and Lines of Credit: The servicer must consider all first
lien home equity loans and lines of credit that meet the basic Fannie Mae HAMP modification
eligibility criteria for a Fannie Mae HAMP modification if

- the servicer has the capability within its servicing system to clearly identify the mortgage loan
as a first lien, and

' the servicer has the ability to establish an escrow account for the mortgage loan.

if, due to system constraints, the Servicer establishes the escrow account after the borrower
successfully completes the Trial Period Plan, the Trial Period Plan payment must still equal the
target monthly mortgage payment ratio.

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Performing an Escrow Analysis

The servicer must perform an escrow analysis prior to determining the borrower’s eligibility for
a Fannie Mae HAMP modification. See Administering nn Escrow Account in Connection With a
Mortgage Loan Modificat:'on in B-l-Ol, Administering an Escrow Account and Paying Expenses
for additional information

Any escrow account shortage that is identified at the time of the mortgage loan modification
must not be capitalized and the servicer is not required to fund any existing escrow account
shortage

 

Determining the Fannie Mae HAMP Modification Terms

The servicer must determine the borrower’s new modified mortgage loan terms by taking
the steps in the following table in the order provided in an effort to achieve a target monthly
mortgage payment ratio as close as possible to, Without going below, 31%:

 

 

 

 

 

 

 

 

Step Action

l Capitalize arrearages

2 Reduce the interest rate.

3 Extcnd the term up to 480 months from the modification effective date, if
necessary.

4 Forbear principal, if necessary

 

The servicer must follow the procedures in Detei'mining the New Modifed Mortgage Lonn Terms
in F-l-lS, Processing a Fannie l\/lae HAMP Modification for determining the borrower’S new
modified mortgage loan terms.

The servicer must request Fannie Mae’s prior written approval through HSSN to

' deviate from the prescribed steps for determining the new modified mortgage payment terms,
unless a certain step is prohibited by applicable State law;

' reduce the borrower’s monthly mortgage payment ratio below 31%; or
' forbear an amount greater than permitted

When the servicer submits a request through I-ISSN for Fannie Mae’s approval of a Fannie Mae
HAMP modification, it must

v immediately provide the borrower with notice ofthe right to receive a copy ofall appraisals
and other valuations developed in connection with the mortgage loan modification, and

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- provide the borrower a copy of all appraisals and other valuations developed in connection
with the mortgage loan modification

Note: A mortgage loan modification for a first lien HELOC must result in a fixed-rate,
fully amortizing mortgage loan that does not permit the borrower to draw any further
amounts from the line of credit.

Prior to granting a permanent mortgage loan modification, the servicer must place the borrower
in a Trial Period Plan using the new modified mortgage loan terms.

 

Communieating with a Borrower Regarding a Fannie Mae HAMP Modil`ication

When the servicer is discussing a Fannie Mae HAMP modification with the borrower, it must
provide the borrower with the items listed in the following table.

 

Inf`ormation the servicer must provide to the borrower in connection with a HAMP
modification

/

 

Information designed to help him or her understand the mortgage loan modification
terms that are being offered and the mortgage loan modification process.

 

Written information about the material terms, costs, and risks of the modified mortgage
loan in a timely manner to enable the borrower to make informed decisions.

 

Notitication that a mortgage loan modification under HAMP will cancel any
assumption, variable or step-rate feature, or enhanced payment options in the
borrower’s existing mortgage loan at the time the mortgage loan is modified.

 

 

 

 

The following table lists the notices that must be sent to the borrower, if applicable, after the
borrower has been evaluated for HAMP.

 

 

Required Notice Description
Notice of Mortgage Loan if the mortgage loan is paid off or reinstated, the servicer must
Payoff or Reinstatement provide a notice which includes the payoff or reinstatement date.

lf the mortgage loan was reinstated, the notice must include a
statement that the borrower may contact the servicer to request
reconsideration for a Fannie i\/lae HAMP modification if he or
she experiences a subsequent hardship.

 

 

 

 

Notice of Withdrawal of The servicer must acknowledge that the borrower withdrew the

Request or Non-Acceptance request for consideration for a Fannie l\/Iae HAMP modification,

of Of`fer or did not accept either a Trial Period Plan or a Fannie Mae
HAMP modification offer.

 

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Required Notice Description

 

 

Notice of Payment Def`ault If the borrower defaults on the Trial Period Plan, the notice must
During the Trial Period Plan
' inform the borrower that he or she failed to make a Trial

Period Plan payment by the end of the month in which it was
due and is in default,

' describe other workout options for which the borrower may be
eligible, and

- identify the steps the borrower must take in order to be
considered f`or other workout options.

 

HAMP Counseling Letter If the borrower’s post-modification total monthly debt ratio is
55% or greater, the servicer must send the borrower a HAMP
Counseling Lettel‘ Stating the following:

' that he or She must Work with a HUD-approved housing
counselor on a plan to reduce the ratio below 55%, and

' the availability and advantages of counseling and directing
the borrower to the appropriate HUD website where a list of`
housing counseling agencies is located.

The servicer must follow the procedures in Calculati`ng the
Borrower ’s Post-Modr'fication Tolal Monthly Debt Rati`o in
F-l-l$, Processing a Fannie Mae HAMP Modification for
calculating the borrower’s post- modification total monthly debt
ratio.

 

 

 

 

 

Offering a Trial Pcriod Plan and Completing a F annie Mae HAMP Modification

For an MBS mortgage loan, the servicer must also see Condr`rions Qfa Fi`rst and Second Lien
Mortgage Loan Modijicationfor an MBS Mortgage Loan in D2-3. l -02, Working with an MBS
Mortgage Loan for Certain Workout Options.

The servicer must use a two-step process for a HAMP modification, which involves providing a
document outlining the terms of the Trial Period Plan and then providing a document outlining
the terms of the permanent mortgage loan modification

The servicer must send an Eval'uafi`on Nc)li`ce (see Sending a Notice quecfsion on a Workout
Optr`on in DZ-Z-OS, Receiving a Borrower Response Package for the requirements of` the

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Evalnr:fr`on Noticc) to document the borrower’s Trial Period Plan, which begins on the date
described in the following table.

 

If the servicer mails the Evaluation Notice to Then the servicer...
the borrower...

 

on or before the 15th day of a calendar month must use the first day of the following month
as the first Trial Period Plan payment due date.

 

after the 15th day of a calendar month must use the first day of the month after
the next month as the first Trial Period Plan
payment due date.

 

 

 

 

For the servicer to offer a Trial Period Plan. the first Trial Period Plan payment due date must be
on or before l\/larch l. 2016.

The following table provides the requirements for the length of the Trial Period Plan, which must
not change even if the borrower makes scheduled payments earlier than required.

 

If the mortgage loan is... Then the Trial Period Plan must be...

delinquent three months long.

 

 

not delinquent, but the servicer has determined four months long.
that the borrower’s monthly payment is in
imminent default

 

 

 

 

For mortgage loans where the servicer has determined that the borrower’s monthly payment is
in imminent default, the payment during the Trial Period Plan must be less than the contractual
monthly payment in effect prior to the Trial Period Plan.

The servicer must service the mortgage loan during the Trial Period Plan in the same manner as it
would service a loan in forbearance.

If` the borrower fails to make a Trial Period Plan payment by the last day of the month in which

it is due, the borrower is considered to have failed the Trial Period Plan and the servicer must not
grant the borrower a permanent Fannie Mae HAMP modification, unless the servicer determines
that acceptabie mitigating circumstances caused the payment to be late.

The servicer must see E-3.4-01, Suspending Foreclosure Proceedings for Workout Negotiations
for the requirements for suspending foreclosure

For the servicer to convert the Trial Period Plan to a permanent Fannie Mae HAMP modification,
the Modification Effective Date must be on or before September l, 20l6.

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The Servicer must use the Home Ajfordable Modijication Agreement (Form 3157), which
must only be revised as authorized in Snmmm;v: Home A[`fordnblc Mt)dr`ficn!ion Agreemem, to
document the terms of the Fannie Mae HAMP modification

The servicer must ensure that the modified mortgage loan retains its first lien position and is
fully enforceable

Electronic documents and signatures for HAMP modifications are acceptable as long as
the electronic record complies with Fannie Mae’s requirements See A2-5.2-01, Storage of
Individual Mortgage Loan Files and Records for Fannie Mae’s requirements for electronic
records.

The servicer must follow the procedures in Preparing the Loan Mod.yication Agreement and
Executr'ng and Recordi`ng the Loan Moa'iyication Agreement in F-l-18, Processing a Fannie Mae
HAMP Modification for preparing, executing, and recording Form 3 l 57.

 

Processing a Fannie Mae HAMP Modification for a Mortgage Loan with Mortgage
Insurance

The servicer must see F-2-07, Mortgage insurer Delegations for Workout Options for the list of
conventional mortgage insurers from which Fannie Mae has obtained delegation of authority on
behalf of all servicers, which allows the servicer to process a Fannie Mae HAMP modification
without obtaining separate mortgage insurer approval at the company or loan level.

 

Identifying Loss of Good Standing

If, following a successful Trial Period Plan, a borrower defaults on a HAMP modification (three
monthly payments are due and unpaid on the last day of the third month), the mortgage loan is no
longer considered to be in “good standing.” Once lost. good standing cannot be restored even if
the borrower subsequently cures the default.

 

Communicating with a Borrower Regarding Eligibility for the Expanded Borrower “Pay
for Performaoce” Incentive for a Fannie Mae HAMP Modification

The following table outlines the servicer requirements related to the expanded borrower “pay for
performance"" incentive.

 

/ The servicer must...

 

Provide written notice of the potential for receipt ofthe expanded borrower “pay for
perfonnance” incentive to a borrower in good standing prior to the fifth anniversary of
the Fannie Mae HAMP modification effective date as described in the following table.

 

 

 

 

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/ The servicer must...

 

 

If the fifth anniversary of the Fannie Then the servicer must...
Mae HAMP modification effective
date occurs...

 

before September l, 2015 ' provide at least one written notice on or
before June l, 20l 5; and

' perform at least one follow-up
communication to the written notice using
any acceptable communication methods as
described in D2-2-01, Achieving Quality
Right Party Contact with a Borrower.

 

on or after September l, 2015 provide at least two written notices that are:

- at least 60 days, but no more than 150 days,
prior to the fifth anniversary of the Fannie
Mae HAMP modification effective date; and

 

' at least 30 days apart.

 

Note: The servicer is authorized to

- include any notice for the expanded borrower “pay for performance” incentive
in other notices sent to the borrower, provided the timing requirements are met;

- provide other communications in addition to the required written notices to
the borrower of the potential for receipt of the expanded borrower “pay for
performance" incentive; and

- include information in the notice indicating that the mortgage loan could be re-
amortized if` eligible on or after the sixth anniversary of the Fannie Mae HAMP
modification effective date. provided the borrower receives the expanded
borrower “pay for performance” incentive.

 

lnclude a copy of the Real Esraie Fraud Certification (Form 720) or U.S- Treasury
Department’s (Treasury) “Dodd Frank Certification" in the written notice to eligible
borrowers, if not already collected

Note: The servicer must notify the borrower that the servicer must have received
an executed Form 720 or Treasury’s “Dodd Frank Certitication" from the
borrower on or before the sixth anniversary of the Fannie Mae HAMP Trial

 

 

 

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/ The servicer must...

 

 

Period Plan effective date or September l, 2015, whichever is later, in order to be
eligible for the expanded borrower “pay for performance" incentive. For a F annie
Mae HAMP modification completed on or after April l, 2015, the servicer is
authorized to collect Form 720 before the mortgage loan modification is complete
If the servicer elects to collect Form 720 before the mortgage loan modification is
complete, it must be clearly communicated to the borrower that eligibility for and
settlement of the mortgage loan modification is not contingent on the submission
of an executed Form 720.

 

 

 

 

The following table outlines the servicer requirements related to the re-amortization option for a
Fannie Mae mortgage loan with a Fannie Mae HAMP modification

 

/ The servicer must

 

Provide written notice of an option to re-amortize the UPB, excluding deferred
principal, over the remaining term of the mortgage loan if at the time of the notice the
mortgage loan is in good standing. The written notice must

- be provided at least 60 days, but no more than 120 days, prior to the sixth
anniversary of the Fannie Mae HAMP modification effective date;

~ give the borrower at least 30 days, but no more than 180 days, from the date of the
notice to respond to the re-amortization offer;

' notify the borrower of any changes to principal and interest payments as required by
applicable law;

' specify changes to the payment schedule as a result of the re-amortization and total
interest to be paid during the remaining term of the mortgage loan after the sixth
anniversary of the Fannie Mae HAMP modification effective date, both with and
without the effect of the re-amortization; and

' include the contact information of the servicer and instruct the borrower to contact

the servicer if the borrower has questions or concerns about the re-amortize offer.

Note: The servicer is authorized to include the notice of a re-amortization offer
in other notices sent to the borrower, provided the timing requirements are met.

 

Apply the same re-amortization conditions to all mortgage loans serviced for Fannie
Mae, however, the servicer is authorized to

 

 

~ require that the mortgage loan is current at the time of the re-amortization;

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,/ The servicer must

 

 

' require that the borrower receives the expanded borrower “pay for performance”
incentive prior to completing the re-amortization; and

~ not to Send a notification to an eligible borrower of the option to re-amortize the
UPB if the mortgage loan was re-amortized within the previous twelve months.

 

Provide the re-amortization at no expense to the borrower once the borrower accepts
the re-amortization offer.

 

Perforrn a follow up communication to the initial written notice using any acceptable
communication methods as described in D2~2-01, Achieving Quality Right Party
Contact with a Borrower.

 

Provide estimated amortization schedules upon the borrower’s request.

 

Determine, in compliance with applicable law, if a written modification agreement is
required to re~amortize the mortgage loan

 

 

 

 

Ensure that the mortgage loan maintains its first lien position and is fully enforceable

 

 

Handling Fees and Late Charges in Connection with a Fannie Mae HAMP Modification
The servicer must not charge the borrower administrative fees.

The servicer must waive all late charges, penalties, stop payment fees, or similar charges upon
the borrower’S conversion to a permanent Fannie Mae HAMP modification

The servicer will not be reimbursed for the cost of the credit report(s).

The servicer must follow the procedures in Reqnestfng Rez`mbursementfor Expenses Assocfaiea'
with Workout Optz`ons in F-l-29, Processing a Workout lncentive Fee for advancing funds and
requesting reimbursement

 

Servicer Duties and Responsibilities

The following table outlines the servicer’s duties in servicing mortgage loans modified under
HAMP.

 

In performing the duties incident to the servicing of mortgage loans modified
under HAMP, the servicer must...

\/

 

Collect and record the details of all executed mortgage loan modifications including,
but not limited to, the following:

 

 

 

~ the original terms of the modified mortgage loan,

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In performing the duties incident to the servicing of mortgage loans modified
under HAMP, the servicer must...

 

/

 

¢ the modified terms of the modified mortgage loan

' data supporting the mortgage loan modification decision

' updates to payoff information and the last payment date, and

' additional information and data as may periodically be requested by Fannie Mae.

All such data must be compiled and reported to Fannie Mae in the form and manner set
forth in this Guide.

lnterpret the terms of this Guide and any related instructions from the Treasury or
F annie Mae in a reasonable manner to serve the purposes and interests of the United
States.

 

 

Use any non-public information or assets of the United States or Fannie l\/lae received
or developed in connection with HAMP solely for the purposes of fulfilling its
obligations hereunder.

 

Comply with all lawful instructions or directions received from the 'l`reasury and
F annie Mae.

 

Develop, enforce, and review for effectiveness at least annually, an internal control
program designed to ensure effectiveness of duties in connection with HAMP and
compliance with this Guide, to monitor and detect mortgage loan modification fraud,
and to monitor compliance with applicable consumer protection and fair lending laws.

The internal control program must include documentation ofthe control objectives for
HAMP activities, the associated control techniques_. and mechanisms for testing and
validating the controls

 

Provide Fannie Mae with access to all internal control reviews and reports that relate to
duties performed under HAMP by the servicer and/or its independent auditing firm.

 

Supervise and manage any contractor that assists in the performance of services

in connection with HAMP. The servicer must remove and replace any contractor

that fails to perform and ensure that all of its contractors comply with the terms and
provisions ofthis Guide. The servicer shall be responsible for the acts or omissions of
its contractors as if the acts or omissions were those of the servicer.

 

 

 

 

Ensure compliance with the terms of any program waivers.

 

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Materials

Chapter l, Servicing Guide Procedures

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F-1-18, Processing a Fannie Mae HAMP Modification
(11/12/2014)

 

 

Introduction

This Servicing Guide Procedure contains the following:

' Verifying Occupancy

' Calculating the Monthly Mortgage Payment Ratio

' Using a Standard Net Present Value Test

- Determining the New l\/lodified Mortgage Loan Terms
° Calculating the Borrower’s Total Monthly Debt Ratio
~ Preparing the Loan Modification Agreement

- Executing and Recording the Loan Modification Agreement

 

Verifying Occupancy

The servicer must evaluate the borrower and the mortgage loan for eligibility for a HAMP
modification in accordance with Derermr'ning Eligibili`!yfor a Fannie Mae HAMP Modr`fication
in D2-3.2-07, Fannie Mae HAMP Modification.

To verify occupancy, the servicer must take the action described in the following table depending
upon the address indicated on the credit report.

 

 

If the credit report... Then the servicer...

lists the property address as the borrower’s is authorized to rely solely on the address

current residence indicated on the credit report to verify
occupancy.

 

does not indicate the property address as the must perform additional due diligence prior
borrower’s current residence to extending a HAMP offer, which must be
documented in the mortgage loan file for
compliance review purposes.

 

 

 

 

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Calculating the Monthly Mortgage Payment Ratio

The servicer must evaluate the borrower and the mortgage loan for eligibility for a HAMP
modification in accordance with Delermining Eh'gibililyfor a Fannie Mae HAMP Modrjicmion
in D2-3.2-07, Fannie Mae HAMP Modification.

The monthly mortgage payment ratio is the ratio of the borrower’s current monthly payment
to the borrower’s monthly gross income. In the case of co-borrowers, the monthly mortgage
payment ratio is the ratio of the borrowers’ current monthly payment to the combined monthly
gross income of the borrower and co-borrower(s).

The borrower’s monthly payment includes the monthly payment of the following items, as
applicable:

- principal,
- interest,
- property taxes,
- property (hazard) insurance,
- flood insurance,
- condo association fees,
° HOA fees, and
' any escrow payment shortage amounts subject to the 60_month repayment plan
Note: When determining the borrower’s monthly mortgage payment ratio, the servicer

must adjust the borrower’s current monthly payment to include the preceding expenses
if they are applicable and not already included in the borrower’s payment

The current monthly payment must not include Ml premium payments or payments
due to holders of subordinate liens. If the borrower has indicated that there are
association fees, but has not been able to provide written documentation to verify the
fees, the servicer may rely on the information provided by the borrower, if the servicer
has made reasonable efforts to obtain the association fee information in writing

The borrower's monthly gross income is defined as the borrower's monthly income amount
before any payroll deductions and includes the following items, as applicable:

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' wages and salaries,

- overtime pay,

' commissions,

- fees,

- tips,

- bonuses,

' housing allowances,

- other compensation for personal services,

' Social Security payments (including Social Security received by adults on behalf of minors or
by minors intended for their own support), and

‘ monthly income from annuities, insurance policies, retirement funds, pensions, disability or
death benefits, rental income, and other income such as adoption assistance

Note: The servicer must not consider unemployment insurance benefits or any other
temporary sources of income related to employment, such as severance payments, as
part of the monthly gross income for mortgage loans being evaluated for a mortgage
loan modification

There is no requirement to refresh income documentation during the remainder of the Trial
Period Plan from the date of the Fannie Mae HAMP modification eligibility determination

A borrower that is being evaluated for a Fannie Mae HAMP modification may elect to submit his
or her most recent signed federal income tax return, but is not required to do so. ln the event that
a borrower does not provide his or her signed federal income tax return including all schedules
and forms, the servicer must, in accordance with D2-2-05, Receiving a Borrower Response
Package, submit the Shor! Form Request for Indivr'dual Tax Return Transcripr (IRS 4506T~

EZ) or Requestfor Transcr§pt of Tax Return (IRS Form 4506-T), if applicable, to the IRS for
processing

If a tax return or transcript is not available for the most recent tax year, the servicer is authorized
to accept any of the following:

- a signed tax return,

' an electronically filed tax return, or

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° transcripts for a prior tax year.

However, the servicer must also process the borrower’s signed [RS Form 4506-T with the IRS to
confirm that the borrower did not file a current tax return If a borrower is not required to file a
tax return, the servicer must have the borrower document why he or she was not required to file a
tax return

The servicer must review the tax return information for all borrowers to help verify income
and identify discrepancies The following table provides the servicers’ requirements when tax
documentation submitted by the borrower reveals inconsistencies with information previously
reported

 

/ The servicer must...

 

Obtain other documentation to reconcile inconsistencies when the tax information
identifies income relevant to the HAMP decision that the borrower did not disclose
on the Un{form Borrower Assr`sfance Form (l:orm 71()).

 

Use reasonable businessjudgment to determine whether income is no longer being
earned or has been reduced to the amounts disclosed on Form 71{).

 

Ask the borrower to explain material differences between the federal income tax
returns/transcript and Form 710, and document such differences in the mortgage loan
file.

 

 

 

 

The servicer must not modify a mortgage loan if there is reasonable evidence indicating the
borrower submitted income information that is false or misleading, or if the borrower otherwise
engaged in fraud in connection with the mortgage loan modification

 

Using a Standard Net Present Value Test

The servicer must evaluate the borrower and the mortgage loan for eligibility for a HAMP
modification in accordance with Determining Eli`gfbiiityfor a Fannie Mae HAMP Modi/ication
in D2-3.2-0?, Fannie Mae HAMP Modification.

The net present value (NPV) model is available on HMPAdmin.com. The servicer will have
access to the NPV model as well as the NPV User Guide, which provides detailed guidelines for
submitting proposed mortgage loan modification data.

To obtain a property valuation input for the NPV model, servicers may use an AVM, an exterior
BPO, or an appraisal. lf the servicer is using an AVM, it is authorized to

° use an AVM provided by Fannie Mae or Freddie Mac, provided that the AVM renders a
reliable confidence score, or

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' rely on its own internal AVM provided that
- the Servicer is subject to supervision by a Federal regulatory agency,
- the Servicer's primary Federal regulatory agency has reviewed the model, and
- the AVM renders a reliable confidence score.

lf` an AVM is unable to render a value with a reliable confidence score, the servicer must obtain
an assessment of the property value utilizing an exterior BPO or a property valuation method
acceptable to the servicer’s Federal regulatory Supervisor. Such assessment must be rendered in
accordance with FDiC’s lnteragency Appraisal and Evaluation Guidelines.

In all cases, the property valuation used must not be more than 90 days old as of` the date that the
servicer first evaluated the borrower for a Fannie Mae HAMP Trial Period Plan using the NPV
model.

Note: The property valuation will remain valid for the duration and does not need to be
updated for any subsequent NPV evaluation

From time to time, the NPV base model will be updated and a new version will be made
available The servicer will be allowed a grace period to implement each new version of the NPV
base tnodel, Which will be set forth in the applicable NPV release documentation In addition, the
release documentation will provide guidance as to which NPV model version the servicer should
use during the grace period. After the grace period, the servicer must use either the most recent
version of the base model or a customized version that meets the requirements for customization
outlined in the model documentation

|n the event that a mortgage loan must be run through the NPV model more than once, the
servicer should test the mortgage loan using the same major NPV model version each time the
borrower is evaluated. All versions of the NPV model are available on HMPAdmin.coin.

A servicer with a servicing book of at least $40 billion has the option to create a customized
NPV model that uses a set of default rates and redefault rates estimated based on the experience
of its own portfolio. When estimating the default and redefault rates, the servicer must take the
following into consideration if feasible:

~ current LTV,
~ current monthly mortgage loan payment,
' current credit score,

° delinquency status, and

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' other loan or borrower attributes.

 

Determining the New Modified Mortgage Loan Terms

The servicer must determine the borrower’s new modified mortgage loan terms in accordance
with Determt`ning the F annie Mae HAMP Mod:'jica!ion Terms in D2-3.2-07, Fannie Mae HAMP
Modification. The servicer must follow the steps in the order provided in the following table

in an effort to achieve a target monthly mortgage payment ratio as close as possible to_. without
going below, 31%.

 

Step Servicer Action

 

l Capitalize the arrearage

The following are considered as acceptable arrearages for capitalization:
' accrued interest_.

- out-of-pocket escrow advances to third parties,

- any required escrow advances that will be paid to third parties by the servicer
during the Trial Period Plan, and

' servicing advances paid to third parties in the ordinary course of` business and not
retained by the servicer, if allowed by state law.

Note: If applicable state law prohibits capitalization of` past due interest or
any other amount, the servicer must collect such funds from the borrower
over a 60-month repayment period unless the borrower decides to pay the
amount upfront. Late charges may not be capitalized and must be waived
if the borrower satisfies all conditions of the Trial Period Plan.

See Administering an Escrow Accoztn! fn Connection With a Mortgage Loan
Modr_`ficatfon in B-l-Ol, Administering an Escrow Account and Paying Expenses for
additional information

 

2 [f` necessary, reduce the starting interest rate in increments of 0.125% to get as close
as possible to the target monthly mortgage payment ratio.

Note: The starting interest rate is the current interest rate (the note rate) on
the mortgage loan. The interest rate floor in all cases is 2%.

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Step Servicer Action

 

 

The following table describes how to handle the resulting rate in relation to the
Interest Rate Cap, which is the Freddie Mae Weekly Primary Mortgage Market
Survey® (PMMS®) Rate for 310-year fixed-rate conforming mortgage loans,
rounded to the nearest 0.125%, as of` the date that the Loan Modification Agreement

 

 

 

is prepared.

lf' the resulting interest rate... Then the reduced interest rate will be...

is below the lnterest Rate Cap in effect for the first five years, followed by
annual increases of l% per year, or such lesser
amount as may be needed, until the interest rate
reaches the lnterest Rate Cap, at which time it
will be fixed for the remaining mortgage loan
term.

exceeds the interest rate cap the permanent interest rate.

 

 

Note: If a borrower has an ARM or interest-only mortgage loan, the interest
rate will convert to a fixed-interest-rate, fully amortizing mortgage loan
For Fannie Mae ARM loans that provide for a monthly payment option (for
example, specified minimum payment, interest-only payment, 30-year fully
amortizing payment, or l$-year fully amortizing payment), the payment used
to calculate the 31% monthly mortgage payment ratio should be the current
payment legally due at the time the servicer determines eligibility regardless
of imminent changes in the rate or amount of payment. This payment option
must be used in the HAMP modification waterfall to reduce the borrower’s
monthly mortgage payment ratio as close as possible to, without going
below, 31%.

3 lf necessary, extend the term and re-amortize the mortgage loan by up to 480
months from the mortgage loan modification effective date (that is, the first day of
the month following the end of the Trial Period Plan) to achieve the target monthly
mortgage payment ratio. Negative amortization after the effective date of the
mortgage loan modification is prohibited

 

Note: When the mortgage loan is secured by a property where the title is
held as a leasehold estate, the term of the leasehold estate must not expire
prior to the date that is five years beyond the new maturity date of the
modified mortgage loan In the event that the current term of the leasehold
estate would expire prior to such date, the term of the leasehold estate must

 

 

 

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Step Servicer Action
be renegotiated to satisfy this requirement for the loan to be eligible for the
Fannie Mae HAMP modification.

4 If necessary, provide principal forbearance to achieve the target monthly mortgage
payment ratio.

 

 

 

The principal forbearance amount is non-interest-bearing and non-amortizing. The
amount of principal forbearance will result in a balloon payment fully due and
payable upon the earliest of the borrower’s transfer of the property, payoff of the
interest-bearing UPB, or maturity of the mortgage loan.

For mortgage loans eligible for a Fannie Mae HAMP modification, the servicer is
not required to forbear more than the greater of

' 30% of the UPB of the mortgage loan (after any capitalization per Step l), or

' an amount resulting in a modified interest-bearing balance that would create a
current mark-to-market LTV ratio equal to 100%.

 

 

 

 

 

Calculating the Borrower’s Total Monthly Debt Ratio

The servicer must send the borrower a HAMP Counseling Letter in accordance with
Communicating with a Borrower Regarding a F annie Mae HAMP Modlyication in
D2-3.2-07, Fannie Mae HAMP Modilication.

The borrower’s total monthly debt ratio is the ratio of the borrower’s monthly gross expenses
divided by the borrower’s monthly gross income (as described in Calculaling the Monthly
Mortgage Payment Rati`o).

The servicer must obtain a credit report for each borrower or ajoint report for a married couple
who are co-borrowers to validate installment debt and other liens. In addition, the servicer

must consider information concerning monthly obligations obtained from the borrower either
verbally or in writing. Monthly gross expenses equal the sum of the monthly charges listed in the
following table, as applicable

 

'Iype of Monthly Expense Additional Information

 

Monthly mortgage loan payment The monthly payment, including:

' MI premiums,

 

 

 

' taxes,

 

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Type of Monthly Expense Additional Information
* property insurance,

 

 

- homeowners’ or condo association fee
payments, and

' assessments related to the property
whether or not they- are included in the
monthly payment

 

Monthly payment on ali closed-end None
subordinate mortgage loans

 

Payments on all installment debts with more lnclude debts that are in a period of either
than ten months of payments remaining deferment or forbearance.

When payments on an installment debt
are not on the credit report or are listed
as deferred, the servicer must obtain
documentation to support the payment
amount included in the monthly debt
payment If` no monthly payment is
reported on a student loan that is deferred
or is in forbearance, the servicer must
obtain documentation verifying the
proposed monthly payment amount, or use
a minimum of 1.5% of the balance

 

Monthly payments on revolving or open-end lnclude regardless of the balance.

 

accounts
In the absence of a stated payment, the
payment must be calculated by multiplying
the outstanding balance by 3%.

Monthly payments on a HELOC Must be included in the payment ratio

using the minimum monthly payment
reported on the credit report.

If the HELOC has a balance but no
monthly payment is reported, the servicer
must obtain documentation verifying the
payment amount, or use a minimum of l%
of the balance.

 

 

 

 

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Type of Monthly Expense Additiona| Information
Alimony, child support, and separate Only include when more than ten months
maintenance payments of payments are remaining and if supplied

by the borrower.

 

Monthly auto lease payments lnclude regardless of the number of
payments remaining

 

Aggregate negative net rental income from all Only include if supplied by the borrower.
investment properties owned

 

Monthly mortgage loan payments for a second lnclude PlTl and, when applicable,
horne mortgage insurance, leasehold payments,
HOA dues, and condo unit or co-op unit
maintenance fees, excluding unit utility
charges

 

 

 

 

 

Preparing the Loan Modification Agreement

The servicer must complete the mortgage loan modification in accordance with Ojferr'ng a Trial
Period Plan and Completing a Fannie Mae HAMP Modij'icatz`on in D2-3.2-07, Fannie Mae
HAMP Modification.

The servicer must prepare the Home Ajordable Modg`jication Agreement (F crm 3157) early
enough in the Trial Period Plan to allow sufficient processing time so that the mortgage loan
modification becomes effective on the first day of the month following the Trial Period Plan
(Modification Effective Date). The servicer is authorized to, at its discretion, complete the

Loan Modification Agreernent so the mortgage loan modification becomes effective on the

first day of the second month following the final Trial Period Plan month to allow for sufficient
processing time. However, the servicer must treat all borrowers the same in applying this option
by Selecting_. at its discretion and evidenced by a written policy, the date by which the final Trial
Pcriod Plan payment must be submitted before the servicer applies this option (“cut-off date”).
The cut-off date must be after the due date for the final Trial Period Plan payment set forth in the
Eval'z.tc:!ir)n Nolr`ce.

Note: lf the servicer elects this option, the borrower will not be required to make an
additional Trial Period Plan payment during the month (the “interim month”) in between
the final Trial Period Plan month and the month in which the mortgage loan modification
becomes effective For example, if the last Trial Period Plan month is March and the
servicer elects the option described above, the borrower is not required to make any
payment during April, and the mortgage loan modification becomes effective, and the
first payment under the Loan Modification Agreement is due, on May l.

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The servicer may encounter circumstances where a co-borrower signature is not obtainable for
the Loan Modification Agreement, for reasons such as mental incapacity, military deployment, or
contested divorce. When a co-borrower’s signature is not obtainable and the servicer decides to
continue with the HAMP mortgage loan modification, the servicer must appropriately document
the basis for the exception in the servicing records.

 

Executing and Recording the Loan Modification Agreement

The servicer must complete the mortgage loan modification in accordance with Offering a Trial
Period Plan and Completing a Fannie Mae HAMP Mod{`fication in D2-3.2-07, Fannie Mae
HAMP Modification.

ln order to ensure that the modified mortgage loan retains its first lien position and is fully
enforceable, the servicer must take the actions described in the following table.

 

/ The servicer must...

 

Ensure that the Loan Modification Agreement is executed by the borrower(s).

 

Ensure that, in the following circumstanccs, the Loan Modification Agreement is in
recordable form:

- if state or local law requires a mortgage loan modification agreement be recorded to
be enforceable;

~ if the amount capitalized is greater than $50,000 (aggregate capitalized amount of
all modifications of the mortgage loan completed under Fannie Mae’s mortgage loan
modification options);

~ if the final interest rate on the modified mortgage loan is greater than the pre-
modified interest rate in effect on the mortgage loan;

- if the remaining term on the mortgage loan is less than or equal to ten years and the
servicer is extending the term ofthe mortgage loan more than ten years beyond the
original maturity date; or

- if the servicer’s practice for modifying mortgage loans in its portfolio is to create
mortgage loan modification agreements in recordable form.

 

Ensure that all real estate taxes and assessments that could become a first lien are
current, especially those for manufactured homes taxed as personal property, personal
property taxes, condo/HOA fees, utility assessments (such as water bills), ground rent,
and other assessments

 

 

 

 

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/ The servicer must...

 

 

Obtain a title endorsement or similar title insurance product issued by a title insurance
company if

- the amount capitalized is greater than $50,000 (aggregate capitalized amount of all
modifications of the mortgage loan completed under Fannie Mae’s mortgage loan
modification options); or

' the final interest rate on the modified mortgage loan is greater than the pre-modified
interest rate in effect on the mortgage loan.

 

Record the executed Loan Modification Agreement if

- state or local law requires the mortgage loan modification agreement be recorded to
be enforceable;

- the amount capitalized is greater than $50,(}00 (aggregate capitalized amount of all
modifications of the mortgage loan completed under Fannie Mae’s mortgage loan
modification options);

- the final interest rate on the modified mortgage loan is greater than the pre-modified
interest rate in effect on the mortgage loan; or

' the remaining term on the mortgage loan is less than or equal to ten years and the
servicer is extending the term of the mortgage loan more than ten years beyond the
original maturity date.

 

 

 

 

The servicer is authorized to execute the Loan Modification Agreement on behalf of lVlERS and,
if applicable, submit it for recordation.

 

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Part B, Escrow, Taxes, Assessments, and Insurance 04/08/2015
Chapter 8, Mortgage lnsurance, Conventional Mottgage Insurance
Requirements

5 B-8.1-04, Termination of Conventional Mortgage |nsurance
(11l12l2014)

 

 

 

 

 

Introduction
This topic contains the following:
- Automatic Termination of Conventional Mortgage Insurance

- Borrower-lnitiated Termination of Conventional Mortgage Insurance Based on Original
Property Value

- Borrower-initiated Termination of Conventional Mortgage Insurance Based on Current
Property Value

~ Terminating the Conventional Mortgage Insurance for a l\/lodified Mortgage Loan
- Finalizing and Reporting the Mortgage insurance Termination

- Performing an Escrow Analysis Upon Termination of l\/lortgage Insurance

 

Automatic Termination of Conventional Mortgage Insurance

The servicer must not charge the borrower a fee for processing an automatic termination

The servicer must take the following steps to terminate the mortgage insurance, as applicable:
1. Determine when the mortgage insurance is due to automatically terminate.

The servicer’s review must determine whether

- a mortgage loan is eligible for automatic termination of mortgage insurance based on the
scheduled termination date (or the mid-point of the amortization period, as applicable), and

' the borrower’s payments are current on that date.

The following table describes the timing of the automatic termination

 

 

If the mortgage loan closed... Then the mortgage insurance is eligible to be
terminated...

on or after July 29, 1999 and is on the applicable termination date, provided the

secured by a one-unit principal borrower’s payments are current on the termination date.

 

 

 

residence or second home

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Chapter S, Mortgage Insurance, Conventional Mortgage Insurance
Requirements

If' the mortgage loan closed... Then the mortgage insurance is eligible to be
terminated...

 

 

The applicable termination date is

- the date the principal balance of the mortgage loan is
first scheduled to reach 78% of the original value of the
property, or

- the first day of the month following the date the mid-
point of the mortgage loan amortization period is
reached, if the scheduled LTV ratio for the mortgage
loan does not reach 78% before the mid-point.

before July 29, 1999, regardless of on the first day of the month after the date that is the mid-

the property type; or point of the original amortization period, provided the
borrower’s payments are current on that date.

 

on or after July 29, 1999 and is
secured by a one- to four- unit
investment property or a two- to
four-unit principal residence

 

 

 

 

2. Verify that the borrower’s payments are considered current,

The borrower’s payments are considered current if the payment due in the month preceding the
scheduled termination date, or the mid-point of` the amortization period, as applicable, and all
outstanding late charges were paid by the end of the month in which the payment was due.

The following table describes the action the servicer must take depending upon the status of the
borrower’s payments

 

If the borrower’s payments are... Then the servicer...

 

current and the mortgage loan is must terminate the mortgage insurance immediately
eligible for automatic termination
based on its scheduled amortization

 

current and the mortgage loan is must terminate the mortgage insurance no later than the
eligible for automatic termination first day of the month following the mid-point date.
based on the mid-point of the
amortization period

 

not current must not terminate the mortgage insurance, even if the
other eligibility criteria for automatic termination are met,

The servicer must

 

 

 

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Chapter 8, Mortgage lnsurance, Conventional Mortgage insurance
Requirements

If` the borrower’s payments are... Then the servicer...

 

 

- notify the borrower within 30 days after the
termination date that the mortgage insurance was not
automatically terminated because the payments were
not current, and

' terminate the mortgage insurance immediately if
the borrower’s payments are current at the time of a
subsequent review.

 

 

 

 

 

Borrower-Initiated Termination of Conventional Mortgage Insurance Based on Original
Property Value

lf the borrower’s written request for termination includes all of the information necessary to
reach a decision the servicer must take the following steps to evaluate the request:

1. Veril'y that the LTV ratio, or CLTV ratio if applicable, of the mortgage loan meets
Fannie Mae’s eligibility criteria.

The following table describes the LTV ratio, or CLTV ratio if applicable, eligibility criteria.

 

 

lf the mortgage loan is... Then...

a first lien mortgage loan closed the LTV ratio eligibility criterion is met on the date the
on or after July 29_. 1999 and is mortgage loan balance is first scheduled to reach 80%
secured by a one-unit principal (or actually reaches 80%) of the original value of the
residence or second home property

 

a first lien mortgage loan closed the LTV ratio eligibility criterion is met on the date that
before July 29, 1999 and is secured the mortgage loan balance actually reaches 75% of the
by a one-unit principal residence original value of the property, if the mortgage loan is
or second horne delivered under a seasoned for two or more years, even if the original
negotiated contract that prohibits specified term has not elapsed

the cancellation of mortgage
insurance until a specified term has
elapsed

 

any other first lien mortgage loan the LTV ratio eligibility criterion is met on the date

the outstanding principal balance of the mortgage loan
reaches the applicable percentage of the original value of
the property, which is as follows:

~ 80% for a mortgage loan secured by a one- unit
principal residence or second home.

 

 

 

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Requirements

If the mortgage loan is... Then...

 

¢ 70% for a mortgage loan secured by a one- to four-unit
investment property or a two- to four-unit principal
residence

 

a second lien mortgage loan the CLTV eligibility criterion is met on the date the sum
of the outstanding principal balances of all mortgage
loans secured by the property reaches 70% of the value
of the property at the time the second lien mortgage loan
was originated.

 

 

 

 

2. Verify that the borrower has an acceptable payment record.
An acceptable payment record is achieved when the mortgage loan

* is current when the termination is requested, which means that the mortgage loan payment for
the month preceding the date of the termination request and all outstanding late charges are
paid;

- has no payment 30 or more days past due in the last 12 months; and
' has no payment 60 or more days past due in the last 24 months

The 12- and 24-month payment histories must be measured backward from the date indicated as
follows:

' For mortgage loans secured by one-unit principal residences or second homes originated on or
after July 29, 1999, the date is the later of

- the date the balance is first scheduled to reach, or actually reaches, SO% of the original
property value, or

- the date the borrower actually requests termination
' For all other mortgage loans, the date on which the mortgage insurance terminates
3. Veril`y that the value of the property is not less than its value at origination

The servicer must warrant that the current property value is at least equal to the original property
value. The servicer may choose to order a BPO, a certification of value, or a new appraisal to
verify the current property value, in which case it must select the broker or appraiser, order the
valuation, and receive the results directly

The servicer must follow the procedures in Verijj)ing Property Valuefor MI Termination in
F-l-OZ, Escrow_. Taxes, Assessments, and Insurance for details on Fannie Mae’s requirements

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The servicer’s action depends on the current property value as described in the following tablc.

 

 

If the current value of the Then the servicer...

property is...

at least equal to the original must terminate the mortgage insurance and notify the
property value borrower.

 

less than the original property value must deny the borrower’s request for termination unless
the property value is based on a new appraisal and the
borrower pays down the mortgage loan balance to the
point that it satisfies F annie Mae’s applicable LTV or
CLTV ratio eligibility criterion

 

 

 

 

The Serviccr must notify the borrower if the request for termination is denied and provide the
grounds for denial, including the results of any BPO, certification of value, or appraisal that the
servicer ordered. This notice must be sent within 30 days of the date that

~ the servicer received the borrower’s request for termination; or

' the servicer received the BPO, certification of value, or new appraisal, if applicable.

 

Borrower-Initiated Termination of Conventional Mortgage Insurance Based on Current
Property Value

if the borrower’s written request for termination includes the information necessary to reach a
decision, the servicer must evaluate the request based on the following:

l. Verify the LTV ratio, or CLTV ratio if applicable, of the mortgage loan meets Fannie
Mae’s eligibility criteria.

Satisfaction that the mortgage loan meets the applicable LTV ratio or CLTV ratio eligibility
criterion must be evidenced by a new appraisal based on an inspection of both the interior and
exterior of the property and prepared in accordance with F annie Mae’s appraisal standards for
new mortgage loan originations. The servicer must select an appraiser, order the appraisal,
receive the results directly, and send a copy of the appraisal to the borrower

The following table describes the LTV ratio, or CLTV ratio if applicable, eligibility criteria.

 

If the mortgage loan is... Then...

 

a first lien mortgage loan secured the LTV ratio must be
by a one-unit principal residence or
second horne

 

 

 

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If the mortgage loan is... Then...

 

' 75% or lesS, if the seasoning of the mortgage loan is
between two and five years.

» 80% or less, if the seasoning of the mortgage loan is
greater than five years.

If Fannie Mae’s minimum two-year seasoning
requirement is waived because the property
improvements made by the borrower increased the
property value, the LTV ratio for the first lien mortgage
loan must be 75% or less.

 

a first lien mortgage loan secured the LTV ratio must be 70% or less, regardless of the
by a one- to four-unit investment seasoning of` the mortgage |oan.

property or a two- to four-unit
principal residence

 

a second lien mortgage loan the CLTV ratio must be 70% or less, regardless of the
seasoning of the mortgage loan.

 

 

 

 

2. Verify the borrower has an acceptable payment record.
An acceptable payment record is achieved when the mortgage loan

- is current when the termination is requested, which means that the mortgage loan payment for
the month preceding the date of the termination request and all outstanding late charges are
paid;

~ has no payment 30 or more days past due in the last 12 months; and
' has no payment 60 or more days past due in the last 24 months.

If a mortgage loan has been assumed, the servicer must not agree to the termination unless the
current borrower has a 24-month payment history for the mortgage ioan.

The servicer must notify the borrower if the request for termination is denied and provide the
reasons for deniai, including the results of the appraisal the servicer ordered. This notice must be
sent within 30 days after the later of

' the date the servicer received the borrower’s request for termination, or

~ the date the servicer received the appraisal.

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Requirements

 

Terminating the Conventional Mortgage Insurance for a Modif'red Mortgage Loan

The mortgage insurance termination eligibility criteria must be based on the terms and conditions
of the modified mortgage loan. The servicer must

- use the amortization schedule of the modified mortgage loan and the property value at the time
of the mortgage loan modification, and

' adhere to applicable state law related to the type of valuation to use to determine the property
value at the time of the mortgage loan modification A BPO or a new appraisal may be used,
or an AVM as long as the AVM provides a reliable confidence score.

 

Finalizing and Reporting the Mortgage Insurance Termination

The servicer must automatically terminate the mortgage insurance on the applicable termination
date and must approve a borrower-initiated request f`or termination if thc previously stated
requirements for the applicable type of mortgage insurance termination are met.

The servicer must not collect mortgage insurance premiums as part of the borrower’s mortgage
loan payment more than 30 days after the later of`

* the date the servicer received the borrower’s request for termination (or the scheduled
termination date or the mid-point of the amortization period, as applicabie, for an automatic
termination), or

- the date all eligibility criteria for termination were satisfied

The following table provides the requirements f`or finalizng and reporting the termination of the
mortgage insurance

 

/ The servicer must...

 

Reduce the borrower’s mortgage loan payment by the amount that was being collected
to pay the mortgage insurance premium within the required time frame, unless the
mortgage insurance premium was financed as part of the mortgage loan amount.

 

Notify the borrower within 30 days after termination that the mortgage insurance
has been terminated and, if applicable, indicate that no further escrow deposits for
mortgage insurance will be due from the borrower.

 

Forward any unearned mortgage insurance premium refund to the borrower as soon as
it is received from the mortgage insurer, but no later than 45 days after the mortgage
insurance termination date.

 

 

 

 

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Requirements

,/ The servicer must...

 

 

Report the termination of mortgage insurance to Fannie Mae with the next F annie
Mae investor reporting system reports that it submits after the termination date. See
Reporting Dr`scontz'nuance ofMortgnge Insurance in the Invesror chorti`ng Manual
for additional information

 

 

 

 

 

Performing an Escrow Analysis Upon Termination of Mortgage Insurance

The following table outlines the actions that the servicer must take depending on whether it
performs a new escrow analysis at the time the mortgage insurance is terminatedl

 

 

If the servicer... Then...
does not perform a new escrow the servicer must advise the borrower that escrow
analysis deposits accumulated to pay off the next mortgage

insurance premium will be considered in the borrower’s
next escrow account analysisl

 

perforan a new escrow analysis the resulting change in the mortgage loan payment

must not equal the amount previously escrowed for the
mortgage insurance premium, should other escrow items
need to be adjusted

 

 

 

 

 

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